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UNITED STATES DlSTRICT COURT §I§§ jil§\i T
WESTERN DISTRICT OF TENNESSEE " `
Eastern Division ,..; -`r_L-|§` 26 §§ w §§
UNITED STATES OF Al\/lERlCA N__.\, . y 110
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§§ §i§§ ‘§F,`. ..§lf`,`i COUHY
-vs- Caseliv.e`ti?vs.¢n;i)sas-OOH

THOMAS ROSS PIERCE

 

ORDER OF DETENT|ON PEND|NG TRIAL
F|ND|NGS
ln accordance with the Bail Ret`orm Act, 18 U.S.C. § 3142(1‘), a detention hearing has been
held. The following facts and circumstances require the defendant to be detained pending trial.

The defendant makes no application for release at this time. A motion t`or conditions
ot` release and a detention hearing may be filed at a later date.

D|RECT|ONS REGARDING DETENTION

THOMAS ROSS PIERCE is committed to the custody of the Attorney General or his designated
representative for confinement in a corrections facility separate, to the extent practicable, from persons awaiting or
serving sentences or being held in custody pending appeal. THOMAS ROSS PIERCE shall be afforded a reasonable
opportunity t`or private consultation with defense counsel On order of a Court of the United States or on request of an
attorney f or the government, the person in charge ot" the corrections facility shall deliver the Defendant to the United
States marshal for the purpose of an appearance in connection with a Court proceeding

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S. THOMAS NDERSON
UNITED STATES MAGISTRATE JUDGE

      

Date: July 26, 2005

This document entered on the docket sheet compliance
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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 32 in
case 1:05-CR-10038 was distributed by faX, mail, or direct printing on
July 27, 2005 to the parties listed.

 

 

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Honorable J ames Todd
US DISTRICT COURT

